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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


   KARON HANNAH,                          1:17-cv-8066 (NLH) (JS)

                   Plaintiff,             MEMORANDUM OPINION & ORDER

         v.

   ADMINISTRATOR
   ALBERT C. WAGNER YOUTH
   CORRECTIONAL FACILITY, et
   al.,

                  Defendants.


APPEARANCES:

Karon Hannah
777077/863299D
East Jersey State Prison
Lock Bag R
Rahway, NJ 07065

     Plaintiff pro se

Gurbir S. Grewal, New Jersey Attorney General
Kathryn Margaret Hansen, Deputy Attorney General
New Jersey Attorney General's Office
25 Market St
P.O. Box 112
Trenton, NJ 08625-0112


     Attorneys for Defendants

HILLMAN, District Judge

     WHEREAS, on May 29, 2020, Defendants moved for summary

judgment on Plaintiff Karon Hannah’s complaint filed under 42

U.S.C. § 1983, see ECF No. 57; and
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     WHEREAS, Plaintiff requested additional time to respond on

June 19, 2020, see ECF No. 58,

     THEREFORE, IT IS on this       30th       day of June, 2020

     ORDERED that Plaintiff’s request for additional time to

file opposition, ECF No. 58, is granted.         The opposition is due

July 20, 2020; and it is finally

     ORDERED that the Clerk shall serve a copy of this Order

upon Plaintiff by regular mail.


                                             s/ Noel L. Hillman
At Camden, New Jersey                      NOEL L. HILLMAN, U.S.D.J.




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